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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
____________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )
      v.                            )               Crim. Action No. 19-0018 (ABJ)
                                    )
ROGER J. STONE, JR.,                )
                                    )
                  Defendant.        )
____________________________________)


                                            ORDER

       The Court requests that the Clerk of Court open a miscellaneous action entitled “In re

Juror Questionnaires in United States v. Stone.”           The Court further requests that the

miscellaneous action be identified as related to Criminal Action 19-0018, and that this Order, the

Notice of Appearance [Dkt. # 349], the Motion for Leave to File [Dkt. # 350], and the Motion for

Limited Permission to Intervene [Dkt. # 351] be filed in the miscellaneous action.

       It is ORDERED that all further filings that relate solely to the request for the juror

questionnaire shall be made in the miscellaneous action.

       SO ORDERED.




                                             AMY BERMAN JACKSON
                                             United States District Judge
DATE: February 28, 2020
